Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 1 of 15

Exhibit A
NTT

(12) United States Patent
Rothschild

US00885

US 8,856,221 B2
Oct. 7, 2014

(10) Patent No.:
(45) Date of Patent:

 

(54) SYSTEM AND METHOD FOR STORING
BROADCAST CONTENT IN A CLOUD-BASED
COMPUTING ENVIRONMENT

(71) Applicant: Leigh M. Rothschild, Sunny Isles
Beach, FL (US)

(72) Inventor: Leigh M. Rothschild, Sunny Isles

Beach, FL (US)

(*) Notice: Subject to any disclaimer, the term of this
patent is extended or adjusted under 35

U.S.C. 154(b) by 0 days.
(21) Appl. No.: 13/652,034

(22) Filed: Oct. 15, 2012

(65) Prior Publication Data
US 2013/0054683 Al Feb, 28, 2013

Related U.S. Application Data

(63) Continuation of application No. 13/300,798, filed on
Nov. 21, 2011. now Pat. No. 8,307,089.

(60) Provisional application No. 61/528,543, filed on Aug.
29, 2011.

(51) Int. Cl.
GO06F 15/16

(52) U.S. CL
USPC. .......... 709/203; 709/204; 709/231; 709/226;
709/249

(2006.01)

(58) Field of Classification Search
See application file for complete search history.

 

(56) References Cited
U.S. PATENT DOCUMENTS

11/2004 Silverbrook et al.
2/2009 Wilbrink et al.
L/2012) Ruhlen
6/2002 Jones et al.
1/2003 Spencer et al.
3/2003 Chilton et al.
3/2003 Miyazaki
1/2005 Aultman et al.
4/2005 Zhang et al.
4/2006 Julia et al.
8/2010 Ma et al.
9/2010 Gulley et al.

10/2010 Ruhlen

6,822,639 Bl

7,496,608 B2

8,108,441 B2
2002/0069252 Al
2003/0014630 Al
2003/0060264 Al
2003/0061281 Al
2005/0021869 Al
2005/0076220 Al
2006/0080452 Al
2010/0217759 Al
2010/0223385 Al
2010/0268736 Al
2010/0332456 Al = 12/2010 Prahlad et al.
2011/0066687 Al 3/2011 Chen et al.

Primary Examiner — Hua Fan

(74) Attorney, Agent, or Firm — Atanu Das; Techlaw LLP

(57) ABSTRACT

A system, method and device for media content storage and
delivery. A server has a receiver in communication with a
processor. The receiver receives a request message. The
request message includes media data indicating requested
media content and a consumer device identifier correspond-
ing to a consumer device. The processor determines whether
the consumer device identifier corresponds to a registered
consumer device. If the processor determines that the con-
sumer device identifier corresponds to the registered con-
sumer device, then the processor determines whether the
request message is one of a storage request message and a
content request message. If the request message is the storage
request message, then the processor is further configured to
determine whether the requested media content is available
for storage. If the request message is the content request
message, then the processor initiates delivery of the requested
media content to the consumer device.

13 Claims, 7 Drawing Sheets

 

Determine available
content corresponding to
content advisory message

 

 

 

   
      
 

Available

Step 5770

 

content request
essa eT

YES
Stan S172

 

Transmil requesied content

 
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 3 of 15

US 8,856,221 B2

Sheet 1 of 7

Oct. 7, 2014

U.S. Patent

ugT JBAISS sjoway |

wena es

GOL Jenies sjoweay |

| JeysiBey

: [ee seein |

_ me
PIN PevT EIRP

 

ep Aiowayy

 

 

bL ‘Sld

 

 

UPpT
Janes
 yseopeoig

seeans

 

 

 

| 9€ s0Osse001q

aseqejeq

/ yao PE Jaalooey

 

BE Alowen =| ZE_soyusued)

 

 

 

er JONES \seopeoig

UgL
ao1kaq Jawnsuds

“ar Glegae
J@uiNsUOD

 

| $e einpow |
ysonbay

 

 

 

9g AIOWsl\

Pe 10Sse00d

 

c JeAI9090H

Oé sopiusuesy

edt
BING JSUINSUOZ

 

 

 

 

 

 
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 4 of 15

Sheet 2 of 7 US 8,856,221 B2

U.S. Patent Oct. 7, 2014

START

 

 

 

 

 

 

 

 

 

 
 
   

 
    
   
 

   
 

   

   
      

 

 

 

 

 

 

 

 

  

  
 
 

  

    

   
 

 

 

 

 

   

    

 

 

 

 

sen Bry Determine Request
Received
Step
$104 PK
Transmit Message Step $102
registration ;
from Registered
message poe
Step
S106 Storage Content Step S124
Request Message Request Message NO
Received? Received?
YES Step $126
Step S108-~\—" Brocess Storage C
Search Database for
Request Message for Stored Content
Media Data one oF wii
Corresponding to
Step S110-~| Determine Media Reged!
Content Information Step
S116
Step $112 ; ,
“8 “> Determine Media Stored Content Notify
Content Characteristics Found? NO Administrator
Step S114
Step S116—~,

 

Notify
Administrator

 

 

 

   
 

  

Requested
Media Content
Verified?

 
  
 

 

 

 

 

 

 

 

 

 

Step Download Content
S118 \ Corresponding to
Storage Request
Message
Step ¥
$1207 \ Store Downloaded
Content
Step ¥
$1227 Transmit Confirmation
Message Indicating
Content was Stored
¥

END

 

 

Transmit Stored
Content to Consumer
Device Corresponding

to Content Request

 

Step

/ $130

 

 

 

 

 

~

FIG. 2
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 5 of 15

U.S. Patent Oct. 7, 2014 Sheet 3 of 7 US 8,856,221 B2

 

 

 
  
 
 

Step $132

  
 
 

  
      
   
    
    

Transmit
Content Request
Message?

Transmit
Storage Request
Message?

 

NO

Step S136

 
 
 

Confirmation
Message
Received?

 
 

 

 

Content Received?

Step $138

 

Step $140
Display Received er e

Content

 

 

 

 

FIG. 3
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 6 of 15

U.S. Patent Oct. 7, 2014 Sheet 4 of 7 US 8,856,221 B2

{ START )

v
Step S142—\\ Determine Media
Content Characteristics
Corresponding to
Requested Content

 

 

 

 

¥v.

 

Determine Length of
Time the Requested
Content is to be Stored

Step $144 —-,

 

f

Step $146 Apply Charge
Reduction Factors

 

 

 

 

Step S148 —~, v
Determine a Cost
Amount

 

 

 

 

END

FIG. 4
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 7 of 15

U.S. Patent Oct. 7, 2014 Sheet 5 of 7 US 8,856,221 B2

 

 

    

 

 

 

 

 

 

 

 

Server Farm 56

 

 

 

 

 

 

 

Broadcast
_| Server
44n
fd

FIG. 5

 

Network 18

Broadcast
Server
ida

 

 

 

X
yr

 

12b

 

Consumer Device
12a
Consumer Device
Consumer Device
412n

 

 

 

 

 

 

 
Case 1

U.S. Patent

:20-cv-10301 Documenti-1 Filed 12/07/20

Oct. 7, 2014 Sheet 6 of 7
{ START }
Step $150
= y

 

 

Check whether content is
available

>
>

 

 

 

 

  
 

Step $152

  

Content

, NO
available?

  
  
 

Step $154

   
  

Available
content corresponds
to content stored in.-~
server farm?

      

NO |
Step S156 ~

 

Download Content

 

 

 

Step $158

 

Content

   

 

 

 
 

request message
received? .-~

   

NO

  
 

YES
Step S160

 

Transmit requested content

 

 

 

 

END

FIG. 6

Page 8 of 15

US 8,856,221 B2
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 9 of 15

U.S. Patent Oct. 7, 2014 Sheet 7 of 7 US 8,856,221 B2

START

Step S162

   
 
  

 
 
 

   

Content
advisory message
received?

NO

 
 

 

Vv

Step $164—,

 

Determine available
content corresponding to
content advisory message

 

 

 

7 Step S168

 

 
   
   

Available
content corresponds
to stored content

ae Uf a

    

Step S166
Download content

 

 

 

Step $170

  
   

Receive
content request _

 

 

 

 

 

~”

NO

Step $172.

Transmit requested content

 

 

 

 

 

END

FIG. 7
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 10 of 15

US 8,856,221 B2

1

SYSTEM AND METHOD FOR STORING
BROADCAST CONTENT IN A CLOUD-BASED
COMPUTING ENVIRONMENT

CROSS-REFERENCE TO RELATED
APPLICATION

This application is a continuation of U.S. patent applica-
tion Ser. No. 13/300,798, filed Nov. 21, 2011, entitled SYS-
TEM AND METHOD FOR STORING BROADCAST
CONTENT IN A CLOUD-BASED COMPUTING ENVI-
RONMENT, which is related to and claims priority to U.S.
Provisional Patent Application Ser. No. 61/528,543, filed
Aug. 29, 2011, entitled SYSTEM AND METHOD FOR
STORING BROADCAST CONTENT AT A REMOTE
SERVER LOCATION the entirety of all of which is incorpo-
rated herein by reference

STATEMENT REGARDING FEDERALLY
SPONSORED RESEARCH OR DEVELOPMENT

n/a
FIELD OF THE INVENTION

The present invention relates to a method and system for
on-demand storage and delivery of media content.

BACKGROUND OF THE INVENTION

The widespread growth of communication networks and
internet enabled consumer devices allow consumers to stream
on-demand videos and music. The on-demand video and
music service is typically provided by large companies or
second party distributors that store the media content for
streaming to the consumer devices. For example, a television
company may maintain a television server that stores all
television shows that are broadcast by the television company
such that the consumer may stream the stored television show
on the consumer device. This requires the television company
to store all or substantially all the shows broadcast by the
television company, which requires a great deal of data stor-
age and often comes at a significant cost to the television
company. The cost of storing all the broadcast shows is typi-
cally passed on to the consumer using the on-demand service
such that the consumer ends up paying for storage of videos
and music that the consumer has no interest in streaming.

In particular, the consumer may be charged a flat rate
monthly subscription fee by the television company. For
example, the consumer may be charged a ten dollar fee per
month for streaming videos from the television server. The
flat rate subscription fee may not change irrespective of
whether the consumer streams hundreds of videos a month or
one video a month. Consumers that vary the amount of con-
tent that is streamed monthly may end up paying more money
for the service than if they simply bought the video content on
digital versatile disk (DVD).

Some television companies and second party video and
music distributors offer a flat rate per video or show that is
streamed. In particular, a consumer may be charged a set fee
for streaming a specific episode of a television program. For
example, the consumer may be charged five dollars for
streaming a two hour long episode of a television show to
their consumer device. However, another consumer will be
charged the same five dollar flat rate for streaming a fifteen
minute episode of another television show. The flat rate fee
associated with a specific video or show that a consumer

25

30

35

40

45

50

a5

60

65

Z

wants to stream may end up detracting consumers who do not
always stream long running episodes of television shows.

Moreover, consumers may want to stream videos of a par-
ticular program that may not be currently stored in the tele-
vision server. The consumer may request the program in order
for the television server to be updated to store the particular
program but such a request may take weeks to months to
fulfill. As such, the consumer may end up losing interest in the
particular program, and the television server may eventually
end up being updated with a particular video that no consum-
ers stream, thereby unnecessarily expending data resources
and driving up the cost of the streaming service.

There is a need in the art for an on-demand media storage
and streaming system that tailors cost to each consumer based
on the requested media content and each consumer’s needs.

SUMMARY OF THE INVENTION

The present invention advantageously provides a method
and system for on-demand storage and delivery of media
content.

According to one embodiment, a system for media content
storage and delivery is provided. The system includes a server
that has a receiver and a processor. The receiver receives
media data that indicates media content to be stored. The
processor is In communication with the receiver. The proces-
sor determines media content characteristics that correspond
to the media content to be stored. The processor determines a
length of time to store the media content based on the media
data and determines a cost amount based at least in part on the
determined media content characteristics and length of time
to store the media content.

According to another embodiment, a consumer device is
provided, The consumer device includes a transmitter that
transmits a storage request message. The storage request mes-
sage indicates media content to be stored and the length of
time the media content is to be stored. The consumer device
includes a receiver that receives a confirmation message. The
confirmation message indicates the media content is stored at
the server based at least in part on the storage request mes-
sage.

According to yet another embodiment, a method is pro-
vided for storing and delivering on-demand media content.
The method includes receiving media data indicating media
content to be stored. The method includes determining media
content characteristics that corresponds to the media content
to be stored. The method includes determining a length of
time to store the media content based on the media data. The
method includes determining a cost amount based at least in
part on the determined media content characteristics and
length of time.

According to yet another embodiment, a system is pro-
vided for storing and delivering media content. The system
includes at least one server. The at least one server includes a
memory that stores media content and a processor. The pro-
cessor determines media content is available for download,
determines the media content is not stored in memory and
initiates download of the media content. The at least one
server includes a receiver that receives the media content. The
memory stores the received media content.

According to yet another embodiment, a method is pro-
vided for storing and delivering media content. A determina-
tion is made that media content is available for download. A
determination is made that content is not stored. Download of
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 11 of 15

US 8,856,221 B2

3

the media content is initiated. The media content is received.
The received media content is stored.

BRIEF DESCRIPTION OF THE DRAWINGS

A more complete understanding of the present invention,
and the attendant advantages and features thereof, will be
more readily understood by reference to the following
detailed description when considered in conjunction with the
accompanying drawings wherein:

FIG. 1 is a block diagram of media content on-demand
storage system constructed in accordance with the principles
of the present invention;

FIG. 2 is a flow chart of an exemplary process for process-
ing a request message for initiating storing and streaming of
media content;

FIG. 3 is a flow chart of an exemplary process for initiating
media content storage and streaming:

FIG, 4 is a flow chart of an exemplary process for deter-
mining a cost amount for storing media content;

FIG. 5 is a block diagram of media content storage for
on-demand delivery constructed in accordance with the prin-
ciples of the present invention;

FIG. 6 is a flow chart of an exemplary process for storing
and delivering content; and

FIG. 7 is a flow chart of an exemplary process for storing
and delivering content.

DETAILED DESCRIPTION OF THE INVENTION

The present invention advantageously provides a system
and method for on-demand storage and streaming of media
content. Accordingly, the system and method components
have been represented where appropriate by conventional
symbols in the drawings, showing only those specific details
that are pertinent to understanding the embodiments of the
present invention so as not to obscure the disclosure with
details that will be readily apparent to those of ordinary skill
in the art having the benefit of the description herein.

Referring now to the drawing figures in which like refer-
ence designators refer to like elements there is shown in FIG.
1 an exemplary storage and streaming system constructed in
accordance with the principles of the present invention and
designated generally as “10." In particular, system 10 may
include one or more consumer devices 12a to 127 (collec-
tively referred to as “consumer device 12”), one or more
broadcast servers 14a to 14» (collectively referred to as
“broadcast server 14”) and one or more remote servers 16a to
167 (collectively referred to as “remote server 16”), commu-
nicating via network 18 using communication protocols
known in the art, e.g., Internet Protocol. Also, broadcast
server 14 and/or remote server 16 may be part of network 18,
a second network, among other network, e.g., each may form
or be part of a cloud computing environment (not shown).

Consumer device 12 may include wired or wireless devices
such as mobile phones, personal digital assistant devices,
personal computers, laptop computers, tablet computers,
digital video recorders, televisions, digital versatile disc play-
ers, among other devices that may communicate via network
18. Consumer device 12 may communicate with network 18
using communication protocols known in the art. In particu-
lar, consumer device 12 may include transmitter 20 and
receiver 22 for transmission and reception of data communi-
cations over network 18. Processor 24 may include a central
processing unit (CPU) for executing computer program
instructions stored in memory 26, as is well known in the art.

25

30

35

40

45

50

a5

60

65

+

Memory 26 may include non-volatile and volatile memory.
For example, non-volatile memory may include a hard drive,
memory stick, flash memory and the like. Also, volatile
memory may include random access memory and others
known in the art. Memory 26 may also include request mod-
we 28 and consumer database 30. Request module 28
includes instructions, which when executed by processor 24,
causes processor 24 to perform the processes described
herein, such as the request process for consumer device 12,
discussed in detail with reference to FIG. 3.

Consumer database 30 may store consumer device data,
consumer data and subscription data, among other data. Con-
sumer device data may include a device identification num-
ber, model number and operating system, among other device
information corresponding to the user of the consumer
device. Consumer data may include consumer information
such as addresses, phone numbers, financial institution infor-
mation and credit/debit card information, among other con-
sumer information. Subscription data may include subscrip-
tion identification number and content storage and retrieval
cost, as discussed in detail with respect to FIG. 4, among other
subscription information.

Broadcast server 14 may include a transmitter 32, receiver
34, processor 36 and memory 38 as with the corresponding
consumer device 12 components, with size and performance
being adjusted based on design needs. Processor 36 performs
functions described herein with respect to broadcast server
14. Broadcast server 14 may communicate with consumer
device 12 and/or remote server 16, via network 18. Memory
38 may include content database 40 that stores/records media
content, media content characteristics, among other data. For
example, the stored media content may be video, audio,
graphical images and the like, and the media content charac-
teristics may be media runtime (playback time) of the media
content, data size of media content, media content availabil-
ity, media content existence and the like. Media content avail-
ability may indicate whether the media content is available
for download, e.g., due to restrictions on the media content.
Media content existence may indicate whether the media
content exist, e.g., media content not found because user input
the wrong movie title.

Remote server 16 may include transmitter 42, receiver 44,
processor 46 and memory 48 as with the corresponding con-
sumer device 12 components, with size and performance
being adjusted based on design needs. Processor 46 may
perform functions described herein with respect to remote
server 16. Memory 48 may include media module 50, media
database 52 and registration database 54. In particular, media
module 50 may be computer program instructions, which
when executed by processor 46, perform the storage and
streaming processes as discussed with respect to FIG. 2.
Media database 52 may store media content and media con-
tent characteristics similar to that stored in content database
40. The media database may store the media content for a
specific length of time, as discussed with reference to FIG, 2.
Registration database 54 may store account data correspond-
ing to one or more consumer devices 12 such as user regis-
tration data, account information, number of consumer
devices registered to a particular user, user account prefer-
ences, among other user account data. Alternatively, remote
server 16 may be part ofa server farm in which the server farm
stores all available media content, as is discussed in detail
with respect to FIGS. 5-6,

An exemplary process for processing a request message to
initiating storing and/or streaming is described with reference
to FIG. 2. A list of media content may be provided to the
consumer and displayed on consumer device display, e.g., via
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 12 of 15

US 8,856,221 B2

5

a website displayed in a web browser. The list of media may
include content stored in media database 52 and content not
stored in media database 52. Consumer device may request
content from the list or may request non-listed media content.
Consumer device 12 initiates the process by transmitting a
request message to remote server 16 such that remote server
16 determines that a request message is received (Step S100).
Remote server 16 determines whether the request message is
received from a registered user, e.g., received from registered
consumer device (Step $102). For example, the request mes-
sage may include consumer data, device identification num-
ber(s), media data, among other data stored in consumer
database 30 that corresponds to the specific user and/or con-
sumer device. If the request message is determined to be from
a non-registered consumer device, a registration message
may be sent to the consumer device to prompt the user to
register the consumer device 12 with remote server 16 (Step
$104). Once the consumer device is registered, the process
may continue to Step 5106.

Ifthe request message is determined to be from a registered
consumer device, remote server 16 processes the request
message to determine whether the request message is a stor-
age request message (Step $106). In particular, the storage
request message may include media data indicating the con-
sumer device is requesting that remote server 16 store specific
media content for an amount of time, e.g., the storage request
message may have a triggering flag. If the request message is
a storage request message, the media data in the storage
request message is processed (Step S108). For example, the
storage request message may contain media data identifying
to the requested media content to be stored. The media data
may include time data that indicates the length of time the
user wants the media content to be stored. The time data may
include a start-end date, period of time (e.g., one month, one
week), end date, among other values and/or characters that
may indicate a length of time. Remote server 16 may deter-
mine media content information based on the processed stor-
age request message, e.g., based on the media data (Step
$110). The media content information may include a media
title, media content serial number, or other media identifying
characters corresponding to the requested media content.

Remote server 16 may determine the media content char-
acteristics corresponding to the requested content based on
the media content information, e.g., based on media data
(Step $112). For example, the media content information may
be used to search media database 52 for corresponding media
content characteristics, e.g., determine media content charac-
teristics. Alternatively, remote sever 16 may transmit the
media content information to broadcast server 14. The broad-
cast server 14 may search database 40 for media content
characteristics corresponding to the received media content
information. Broadcast server 14 may transmit the media
content characteristics to remote server 16. Remote server 16
may verify the requested media content based at least in part
on the media content characteristics, e.g., remote server 16
verifies the requested media content is available based at least
in part on the media content characteristics (Step S114). For
example, the media content characteristics may indicate
whether the requested media content is available for down-
load and/or whether the requested media content exists. If the
requested content is not verified, a network administrator may
be notified (Step $116).

If the requested media content is verified, remote server 16
may download the verified media content, e.g., download
media content corresponding to media data in storage request
message (Step S118). In particular, remote server 16 may
download the content from broadcast server 14 via network

25

30

35

40

45

50

a5

60

65

6

18 for storage in media database 52, e.g., broadcast server 14
delivers media content to remote server 16. For example,
remote server 16 may transmit a download request message to
broadcast server 14 indicating remote server 16 requests to
download the verified media content from broadcast server
14,

Alternatively, remote server 16 may download content
from consumer device 12 such that consumer device 12 acts
as a proxy server, e.g., consumer device 12 serves as an
intermediary between remote server 16 and broadcast server
14 or another content server. Broadcast server 14 and remote
server 16 may obtain media content from other Internet con-
nected devices, community antenna cable television systems
(CATV), satellite-based systems, and the like. In other words,
it is contemplated that servers 14 and 16 have access to media
content that is requested by the consumer. Remote server 16
may store the downloaded media content in media database
52 for a length of time determined from the media data, e.g.,
media data indicates the length of time to store the media
content (Step 8120). Also, remote server 16 may tag the
downloaded content to the consumer. For example, the tag
may link the downloaded content to the specific consumer
account that requested the downloaded content.

Remote server 12 may transmit a confirmation message to
consumer device 12 indicating the content corresponding to
the storage request message has been stored in media data-
base 52 (Step 8122). The confirmation message may include
confirmation data indicating the length of time the media
content is to be stored, size of stored media content, cost
amount, cost reduction, consumer account number, among
other data.

Referring back to Step S106, if the request message is
determined not to be a storage request message, remote server
16 determines whether the request message is a content
request message (Step 8124). In particular, the content
request message may include content request data indicating
that the consumer wants to stream or download media content
to consumer device 12. For example, the content request
message data may include the media content title, a triggered
message flag, consumer account number, mobile identifica-
tion number, among other data that may be used by remote
server 16 to identify the requested content. Remote server 16
may search media database 52 for stored media content cor-
responding to the content request message (Step $126). In
particular, the requested media content may include media
content previously stored in response to a storage request
message, other stored media content not linked (e.g., tagged)
to the requesting consumer, among other media content. For
example, remote server 16 may store media content other
consumers have requested and may also store premium con-
tent such as new programming, pay-per view events, and the
like. In other words, consumer device 12 may transmit a
content request message corresponding to any content stored
on media database 52, absent predefined media restrictions
set by the network administrator or account administrator.

If no corresponding media content is found in media data-
base 52 (Step $128), a network administrator and/or the con-
sumer may be notified (Step 8116). Alternatively, if no cor-
responding media content is found, the content request
message may be processed as a storage request message. For
example, the content request message may be processed
according to the storage request message Steps of S108-5122.
Continuing the example, after transmitting the confirmation
message (Step $122), the content request message may then
be processed as a content request message, e.g., according to
Steps $124-S130. If remote server 16 finds the stored media
content corresponding to the content request message in
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 13 of 15

US 8,856,221 B2

7
media database 52 (Step $128), the corresponding media

content may be transmitted to consumer device 12 for display
(Step $130). For example, consumer device 12 may stream
media content such as digital video from remote server 16
and/or may download the requested content.

An exemplary process for consumer device 12 to initiate
media content storage, download and/or streaming is
described with reference to FIG. 3. In particular, request
module 28 determines whether the consumer is requesting to
store media content, e.g., whether to transmit a storage
request message (Step 5132). The determination may be
based on a triggering event on consumer device 12 that is
initiated by the consumer. For example, the triggering event
may be pushing a record/storage button, voice activated
record button, selecting media from a media database, among,
other types of triggering events that cause consumer device 12
to transmit a storage request message. If the storage request
message is transmitted via transmitter 20, a determination is
made as to whether a confirmation message ts received (Step
$134). If no confirmation message has been received, the
determination of Step $134 is made again. Alternatively, a
network administrator and/or consumer may be notified that
no confirmation message has been received (not shown). A
received confirmation message indicates the transmitted stor-
age request message was successfully received and processed
at remote server 16 such that media content corresponding to
the storage request message is stored in media database 52.
The confirmation may also include information for display at
consumer device 12 such as receipt, cost amount, among
other displayable data.

Referring back to Step $132, if the determination is made
not to transmit a storage request message, a determination is
made as to whether to transmit a content request message
(Step $136). In particular, the determination of Step $136 is
made based on a triggering event on consumer device 12
caused by the consumer. For example, the triggering event
may be pushing a content request button, voice activated
content button, among other types of triggering events that
cause the consumer device 12 to transmit the content request
message. If the content request message is transmitted via
transmitter 20, a determination is made as to whether the
requested media content has been received, e.g., whether the
consumer device is storing or downloading the requested
media content (Step $138). Ifthe requested media content has
not been received, the determination of Step $138 is made
again. Alternatively, the network administrator and/or con-
sumer may be notified that the requested content has not been
received, If it is determined that the requested media content
has been received, the received media content is played on
consumer device 12 (Step 5140), e.g., digital video is dis-
played on the consumer device display.

An exemplary process for determining a cost amount to
store media content is described with reference to FIG. 4. The
length of time corresponding to the playback duration of the
requested media content that is to be stored in media database
52 is determined, e.g., determine media content characteris-
tics corresponding to requested content (Step $142). For
example, the requested media content may correspond to
three hours of runtime/playback time, 30 minutes of playback
time, etc. The playback time of the media content may be
provided by the broadcast server 14 and/or another internet
connected device, e.g., the broadcast company may provide
the runtime of a movie, among other movie data. A determi-
nation is made as to the length of time the requested content
is to be stored in media database 52 (Step $144). The con-
sumer may indicate in the storage request message that the

25

30

35

40

45

50

a5

60

65

8

requested media content is to be stored for a particular period
of time such as two months, one day, or any other specified
period of time.

Also, cost reduction factors may be applied to reduce the
cost amount for storing media content (Step S146). The cost
reduction factors may include a predefined period factor that
indicates specific cost reductions based on predefined periods
of time a consumer wants to store content. A cost reduction
may be applied when a consumer selects media content stor-
age according to set periods of time defined by the server
provider. For example, the consumer may choose to store
media content for one week or one month as predefined by the
service provider. The cost reduction factor may be predefined
based on the selected predefined storage times. Continuing
the example, certain media content may have a predefined
length of storage time of one day such that the media content
is available to the consumer for one day and a specific cost
reduction will be applied.

The cost amount may be based on factors such as the
determined amount of playback time corresponding to the
media content (e.g., based on media content characteristics),
the length of time the consumer wants to store the requested
content in the media database 52 and/or the cost reduction
factors (Step $148). The consumer may not incur addition
cost for streaming the stored content to consumer device 12
such that the consumer may stream as many times and as
much content at a time as he or she, e.g., the determined cost
amount is unaffected by the number of times the media con-
tent is downloaded or streamed. For example, the consumer
may have requested the storage of two particular shows (me-
dia content) for one month storage in which the cost amount
may be based on the runtime of both shows and the one month
storage time and/or cost reduction factors. Continuing the
example, the consumer may stream both shows individually
or at substantially the same time to consumer device 12 with-
out additional cost. Also, the consumer may stream one or
both shows at substantially the same time to several consumer
devices 12 registered to a specific consumer, i.e., consumer
devices are registered to a single consumer account. Alterna-
tively, additional cost may be incurred for repeated playback,
even if the playback occurs during the storage time duration,
e.g., playback during the one month storage time.

Another embodiment ofan exemplary storage and delivery
system is described with reference to FIG. 5. Server farm 56
may include one or more remote servers 16 that communicate
with broadcast server 14, consumer device 12, and other
network devices. Server farm 56 may store all media content
that is available irrespective of whether the content is being
requested by consumer device 12, e.g. stores all media avail-
able from broadcast server 14 and other media content
sources. In one embodiment, server farm 56 stores all avail-
able broadcast and movie content.

Server farm 56 may periodically check for available con-
tent that is not already stored in server farm 56. For example,
server farm 56 may check or interrogate broadcast server 14
for new content that is available and has not already been
downloaded to server farm 56 as discussed in detail in FIG. 6.
Alternatively, server farm 56 may receive a content advisory
message from broadcast server 14 or other media content
sources. The content advisory message may indicate to server
farm 56 that media content that is available and may not have
been downloaded to server farm 56. In response to the content
advisory message, server farm 56 may download the content
corresponding to the content advisory message as discussed
in detail in FIG, 7, Accordingly, server farm 56 remains
updated with all available content such that requested content
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 14 of 15

US 8,856,221 B2

9

is already stored in server farm 56 and is ready for delivery,
e.g., download, to consumer device 12, as is discussed with
respect to FIGS. 6-7.

An exemplary process for storing and delivering media
content is described with reference to FIG. 6. Server farm 56
checks whether media content is available, e.g., determines if
content is available (Step S150). Remote server 16 in server
farm 56 checks or interrogates broadcast server 14 for media
content not already stored in server farm 56. For example, the
media content may be newly released content or content just
made available. If media content is available (Step 8152), a
determination is made whether the available content corre-
sponds to content already stored in server farm (Step S154).
For example, remote server 16 determines whether the avail-
able content is already stored in server farm 56, e.g. deter-
mines if available content is not stored. If the available con-
tent is already stored in server farm 56, remote server 16 in
server farm 56 determines whether a content request message
is received (Step 5158). If the available content is not stored
in server farm 56, the available content is downloaded and
stored in server farm 56 (Step $156). For example, remote
server 16 in server farm 56 may initiate download of the
available media content from broadcast server 14. After the
available content is downloaded to remote server 16 in server
farm 56, a determination is made whether a content request
message is received (Step 5158). For example, consumer
device 12 may be requesting specific media content from
server farm 56 via a content request message.

Server farm 56 may transmit the requested media content
to the requesting consumer device 12, e.g., the available con-
tent is downloaded and stored in server farm 56 before the
content request message is received such that requested con-
tent is ready for delivery (Step $160). The downloaded and

stored available content includes at least the requested con-

tent. Remote server 16 in server farm 56 may transmit the :

requested content to consumer device 12. Referring back to
Step 5152, if content is not available the determination of
Step $158 may be made.

An exemplary process for storing and delivering content is
described with reference to FIG. 7. A determination is made
whether a content advisory message is received (Step $162).
For example, broadcast server 14 or other content providers
may send a content advisory message to server farm 56 indi-
cating that content is available. If no content advisory mes-
sage has been received, remote server 16 in server farm 56
determine if a content request message has been received
(Step $170). Ifthe content advisory message is determined to
have been received, the content corresponding to the content
advisory message is determined (Step $164). Server farm 56
determines whether the available content corresponds to con-
tent already stored in server farm, e.g., determines whether
content is store or not stored (Step 5166). For example,
remote server 16 determines whether the available content
has previously been downloaded to one of the remote servers
16 in server farm 56. If the available content does not corre-
spond to content stored in server farm 56, the available con-
tent is downloaded and stored in server farm 56 (Step S168).
For example, remote server 16 in server farm 56 may initiate
download of the available media content from broadcast
server 14. If the available content is already stored in server
farm 56, a determination is made whether a content request
message has been received (Step 5170). For example, the
content request message may be received from consumer
device 12 that is requesting to download specific media con-
tent from server farm 56. If a content request message is
determined not to have been received, the determination of
Step 8162 may be repeated. [fit is determined that a content

40

45

50

a5

60

65

10

request message is received, the media content corresponding
to the content request message is transmitted, e.g., transmit-
ted to consumer device 12 that requested the content (Step
$172). For example, the available content is downloaded and
stored in server farm 56 before the content request message is
received in which the content request message correspond to
previously downloaded content. It is also contemplated that a
user can be charged a fee for downloading the content. The fee
can be based on one or more factors, e.g., the duration of the
media content, the age of the media content, the popularity of
the media content and/or the type of media content.

The present invention can be realized in hardware, soft-
ware, or a combination of hardware and software. Any kind of
computing system, or other apparatus adapted for carrying
out the methods described herein, is suited to perform the
functions described herein. A typical combination of hard-
ware and software could be a specialized or general purpose
computer system having one or more processing elements
and a computer program stored on a storage medium that,
when loaded and executed, controls the computer system
such that it carries out the methods described herein. The
present invention can also be embedded in a computer pro-
gram product, which comprises all the features enabling the
implementation of the methods described herein, and which,
when loaded in a computing system is able to carry out these
methods. Storage medium refers to any volatile or non-vola-
tile storage device.

Computer program or application in the present context
means any expression, in any language, code or notation, ofa
set of instructions intended to cause a system having an infor-
mation processing capability to perform a particular function
either directly or after either or both of the following a)
conversion to another language, code or notation; b) repro-
duction in a different material form.

It will be appreciated by persons skilled in the art that the
present invention is not limited to what has been particularly
shown and described herein above. In addition, unless men-
tion was made above to the contrary, it should be noted that all
of the accompanying drawings are not to scale. A variety of
modifications and variations are possible in light of the above
teachings without departing from the scope and spirit of the
invention, which is limited only by the following claims.

What is claimed is:

1. A system for media content storage and delivery, the
system comprising:

a first server, the first server including:

a first receiver, the first receiver configured to receive a
request message including media data indicating
requested media content and a consumer device iden-
tifier corresponding to a consumer device; and

a first processor in communication with the first receiver,
the first processor configured to determine whether
the consumer device identifier corresponds to a reg-
istered consumer device;

if the first processor determines that the consumer device

identifier corresponds to the registered consumer device,

then: the first processor is further configured to deter-
mine whether the request message is one of a storage
request message and a content request message;

if the request message is the storage request message,
then the processor is further configured to determine
whether the requested media content is available for
storage; and

if the request message is the content request message,
then the processor is further configure to initiate deliv-
ery of the requested media content to the consumer
device;
Case 1:20-cv-10301 Document 1-1 Filed 12/07/20 Page 15 of 15

US 8,856,221 B2

11

wherein the media data includes time data that indicates
a length of time to store the requested media content;
and

the first processor is further configured to determine
whether the requested media content exists; and

if the processor determines that the requested media
content exists, the processor is further configured to
determine whether the requested media content is
available and whether there are restrictions associated
with the requested media content that prevent the
requested media content from being delivered to the
consumer device.

2. The system of claim 1, wherein the first receiver is
further configured to receive a storage confirmation message
indicating the requested media content is available for stor-
age.
3. The system of claim 1, wherein if the first processor
determines that the consumer device identifier does not cor-
respond to the registered consumer device, then:

the first processor is configured to send a registration mes-

sage prompting registration of the consumer device.

4. The system of claim 1, wherein the first server further
includes a first memory in communication with the first
receiver and the first processor, the first memory configured to
store user data corresponding to an end user media consumer
associated with the consumer device, the user data including
a number of consumer devices registered to the end user
media consumer.

5. The system of claim 1, wherein the first processor is
further configured to verify that the consumer device identi-
fier is associated with an end user media consumer.

6. The system of claim 1, further comprising a second
server, the second server including:

a second memory, the second memory configured to store

the requested media content;

asecond receiver, the second receiver configured to receive

a delivery message indicating the requested media con-
tent is to be delivered to the first server; and a second
transmitter, the second transmitter configured to trans-
mut the requested media content to the first server when
the first processor determines that the consumer device
identifier corresponds to the registered consumer device.

7. A method for storing media content and delivering
requested media content to a consumer device, the method
comprising:

receiving a request message including media data indicat-

ing requested media content and a consumer device
identifier corresponding to the consumer device;

25

30

35

40

45

12

determining whether the consumer device identifier corre-

sponds to a registered consumer device; and

if it is determined that the consumer device identifier cor-

responds to the registered consumer device, then:

determining, whether the request message is one of a
storage request message and a content request mes-
sage; and

if the request message is the storage request message, then

determining whether the requested media content is
available for storage; and

if the request message is the content request message, then

initiating delivery of the requested media content to the
consumer device;

wherein the media data includes time data that indicates a

length of time to store the requested media content; and
the first processor is further configured to determine
whether the requested media content exists; and

if the processor determines that the requested media con-

tent exists, the processor is further configured to deter-
mine whether the requested media content is available
and whether there are restrictions associated with the
requested media content that prevent the requested
media content from being delivered to the consumer
device.

8. The method of claim 7, further comprising receiving a
storage confirmation message indicating whether the
requested media content is available for storage.

9. The method of claim 7, further comprising:

if it is determined that the consumer device identifier does

not correspond to the registered consumer device, then:
sending a registration message prompting registration of
the consumer device.

10. The method of claim 7, further comprising:

storing user data corresponding to an end user media con-

sumer associated with the consumer device, the user
data including a number of consumer devices registered
to the end user media consumer.

11. The method of claim 7, further comprising: verifying
that the consumer device identifier is associated with an end
user media consumer.

12. The method of claim 7, wherein in response to receiv-
ing the content request message, the method further com-
prises transmitting a financial cost of delivering the requested
media content.

13. The method of claim 12, wherein the financial cost is
unaffected by the number of times the requested media con-
tent is delivered.
